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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


   LEAGUE OF WOMEN VOTERS OF
   MICHIGAN, et al.,

           Plaintiffs,
                                                                      Case No. 2:17-CV-14148
   v.
                                                                      Hon. Eric L. Clay
   JOCELYN BENSON, in her official capacity                           Hon. Denise Page Hood
   as Michigan Secretary of State, et al.,                            Hon. Gordon J. Quist

         Defendants.
   _____________________/



        ORDER DENYING SECRETARY’S MOTIONS IN LIMINE TO EXCLUDE THE
         EXPERT REPORT OF DR. JOWEI CHEN (ECF No. 147) AND TO EXCLUDE
        TESTIMONY CONCERNING GERRYMANDERING METRICS (ECF No. 148)

          Before the Court are Defendant Secretary of State Ruth Johnson’s Motion in Limine to

  Exclude the Expert Report of Dr. Jowei Chen (ECF No. 147) and Motion in Limine to Exclude

  Testimony Concerning Various Proffered Gerrymandering Metrics (ECF No. 148). The Secretary

  argues that Dr. Chen’s methodology and the evidence concerning five social science

  gerrymandering metrics fail to satisfy the standards of Federal Rule of Evidence 702 and Daubert

  v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786 (1993).

          However, both motions in limine and Daubert challenges are inapplicable to bench trials.

  A motion in limine is a tool used to prevent evidence “that clearly ought not be presented to the

  jury” from reaching the jury. Jonasson v. Lutheran Child & Family Servs., 115 F.3d 436, 440 (7th

  Cir. 1997). Similarly, a Daubert challenge is used to “prevent the jury” from hearing unreliable

  scientific evidence. Daubert, 509 U.S. at 597, 113 S. Ct. at 2798. These two gatekeeping doctrines

  were “designed to protect juries and [are] largely irrelevant in the context of a bench trial.” Deal
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  v. Hamilton Cnty. Bd. of Educ., 392 F.3d 840, 852 (6th Cir. 2004). “The proper course of action

  for this Court, therefore, is to admit the evidence and then afford it whatever weight the Court

  deems appropriate.” Michigan State A. Philip Randolph Inst. v. Johnson, No. 16-CV-11844, 2018

  WL 1180886, at *2 (E.D. Mich. Mar. 7, 2018).

         Therefore, Defendant Secretary of State Ruth Johnson’s Motion in Limine to Exclude the

  Expert Report of Dr. Jowei Chen (ECF No. 147) is DENIED.

         Defendant Secretary of State Ruth Johnson’s Motion in Limine to Exclude Testimony

  Concerning Various Proffered Gerrymandering Metrics (ECF No. 148) is also DENIED.

         IT IS SO ORDERED.




  Dated: January 15, 2019                                       /s/ Gordon J. Quist
                                                       Signed for and on behalf of the panel:

                                                       HONORABLE GORDON J. QUIST
                                                         United States District Judge

                                                          HONORABLE ERIC L. CLAY
                                                           United States Circuit Judge

                                                      HONORABLE DENISE PAGE HOOD
                                                         United States District Judge




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